Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.108 Filed 08/18/20 Page 1 of 17




           EXHIBIT 4
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.109 Filed 08/18/20 Page 2 of 17




                 https://creestock.com/?s=Carhartt&post_type=product
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.110 Filed 08/18/20 Page 3 of 17




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                 https://creestock.com/?s=Carhartt&post_type=product
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.111 Filed 08/18/20 Page 4 of 17




              https://creestock.com/page/2/?s=Carhartt&post_type=product
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.112 Filed 08/18/20 Page 5 of 17




                    https://creestock.com/product/carhartt-9-3d-fm/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.113 Filed 08/18/20 Page 6 of 17




                     https://creestock.com/product/design-3561/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.114 Filed 08/18/20 Page 7 of 17




 https://creestock.com/product/blanket-carhartt-color-waves-personalized-custom-3d-full-print-
                                hoodie-t-shirt-jacket-pant-polo/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.115 Filed 08/18/20 Page 8 of 17




              https://creestock.com/product/0490-high-quality-leather-jacket/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.116 Filed 08/18/20 Page 9 of 17




          https://creestock.com/product/design-0158-high-quality-baseball-jacket/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.117 Filed 08/18/20 Page 10 of 17




                  https://pipermall.com/?s=Carhartt&post_type=product
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.118 Filed 08/18/20 Page 11 of 17




                  https://pipermall.com/?s=Carhartt&post_type=product
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.119 Filed 08/18/20 Page 12 of 17




             https://pipermall.com/page/2/?s=Carhartt&post_type=product
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.120 Filed 08/18/20 Page 13 of 17




                    https://pipermall.com/product/carhartt-1-3d-fm/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.121 Filed 08/18/20 Page 14 of 17




              https://pipermall.com/product/design-qdn0197cus-3d-full-print/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.122 Filed 08/18/20 Page 15 of 17




                      https://pipermall.com/product/design-5522/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.123 Filed 08/18/20 Page 16 of 17




                   https://pipermall.com/product/blanket-design-4723/
Case 2:20-cv-12225-GCS-APP ECF No. 1-4, PageID.124 Filed 08/18/20 Page 17 of 17




           https://pipermall.com/product/design-0158-high-quality-baseball-jacket/
